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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA                 )
                                          )
             vs.                          )       CAUSE NO. 3:03-CR-91 RM
                                          )
 FRANK KOLLINTZAS (01)                    )


                               OPINION and ORDER

       At the conclusion of a three-week jury trial, Frank Kollintzas was found

 guilty of converting the funds of the City of East Chicago, Indiana, in violation of

 18 U.S.C. § 666(a)(1), and of lying to a federal agent, in violation of 18 U.S.C. §

 1001. On February 25, 2005, the day after the sentencing hearing at which Mr.

 Kollintzas failed to appear, the following judgment was entered: Mr. Kollintzas was

 sentenced to a 136-month term of imprisonment to be followed by two years of

 supervised release, and he was ordered to pay special assessments of $200.00 and

 restitution to the City of East Chicago in the sum of $25,588,835.98, which was

 ordered “due in full immediately.” A bench warrant for Mr. Kollintzas was issued

 on February 25, as well; to date, Mr. Kollintzas hasn’t been apprehended nor has

 he paid any of the amounts due.

       On March 1, 2005, the government filed a Notice of Lien in Lake County,

 Indiana, 26 U.S.C. § 6323(f); IND. CODE § 36-2-11-25(a), and served interrogatories

 on numerous garnishee defendants in an attempt to ascertain the extent of Mr.

 Kollintzas’s property. 18 U.S.C. § 3612(c). Based on the interrogatory responses,

 the government compiled an accounting of Mr. Kollintzas’s property or interests
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 in property it contends it is entitled to collect pursuant to its lien. Joanna

 Kollintzas, Frank Kollintzas’s wife, has challenged the government’s enforcement

 of the lien, claiming an interest in the property sought by the government. Mrs.

 Kollintzas filed for dissolution of marriage in the Lake Superior Court on March

 31, 2005, and maintains that the property at issue is part of the parties’ marital

 property that should be divided between the parties in the state court dissolution

 proceedings. The government disagrees with Mrs. Kollintzas, but has taken no

 further action with respect to the property based on the Lake Superior Court’s

 issuance of a temporary restraining order prohibiting the disposition and/or

 transfer of any of the Kollintzas property, including the properties contained in the

 government’s accounting.

       An order of restitution, like the one entered against Mr. Kollintzas, “is a lien

 in favor of the United States on all property and rights to property of the person

 fined as if the liability of the person fined were a liability for a tax assessed under

 the Internal Revenue Code.” 18 U.S.C. § 3613(c), (f). The statutory language “all

 property and rights to property” in 18 U.S.C. § 3613(c) and the Internal Revenue

 Code, 26 U.S.C. § 6321, “is broad and reveals on its face that Congress meant to

 reach every interest in property that a taxpayer might have.” United States v.

 National Bank of Commerce, 472 U.S. 713, 719-720 (1985). “[M]oreover, collection

 provisions plainly contemplate that a taxpayer’s interest in property may be less

 than full ownership. The tax lien attaches not only to ‘property’ but also to ‘rights

 to property.’” United States v. National Bank of Commerce, 472 U.S. 713, 730

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 (1985). A federal tax lien attaches at the time the assessment is made and

 continues until the liability has been satisfied or becomes unenforceable due to

 the lapse of time. 26 U.S.C. § 6322.

       State law controls in determining the nature of the legal interest, if any, a

 taxpayer has in property, and a federal tax lien attaches to whatever rights or

 interests the taxpayer has under state law. Drye v. United States, 528 U.S. 49, 58

 (1999). The key to determining what state-law rights constitute “property” or

 “rights to property” is “the breadth of the control the [taxpayer] could exercise over

 the property.’” Drye v. United States, 528 U.S. 49, 61 (1999) (quoting Morgan v.

 Commissioner, 309 U.S. 78, 83 (1940)). A taxpayer’s right under state law to

 withdraw the whole of proceeds from a joint bank account has been held to

 constitute property or the right to property subject to a federal tax lien, even

 though state law would not allow ordinary creditors similarly to deplete the

 account, United States v. National Bank of Commerce, 472 U.S. 713 (1985), and

 a taxpayer’s right under a life insurance policy to receive the cash surrender value

 of the policy was held to be property or a right to property subject to a federal tax

 lien, even though state law shielded the cash surrender value from creditors’ liens.

 United States v. Bess, 357 U.S. 51 (1958).

       In Indiana, marital property is held as a tenancy by the entireties. Matter

 of Hunter, 970 F.2d 299, 301 (7th Cir. 1992) (“Indiana continues to recognize the

 common law form of marital property ownership – tenancy by the entirety.”). Each

 co-tenant possesses an undivided interest in the whole, Heffner v. White, 45 N.E.

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 342, 346 (Ind. Ct. App. 1942), and an equal right to share in the rents, profits,

 use, and enjoyment of the property. Sharp v. Baker, 96 N.E. 627 (Ind. Ct. App.

 1911). Neither tenant can convey or encumber any interest in the property against

 the other’s will. Baker v. Cailor, 186 N.E. 769 (Ind. 1933). “A tenancy by the

 entirety is a unique sort of concurrent ownership that can only exist between

 married persons.” United States v. Craft, 535 U.S. 274, 280 (2002).

         Although in Indiana property held as tenants by the entireties “is not

 subject to sale or execution or other legal process sought by any creditor to whom

 only one of the two marital parties is personally liable for a debt,” In re Kuhn, 322

 B.R. 377, 384 (Bankr. N.D. Ind. 2005), that prohibition doesn’t apply to federal tax

 liens because the federal tax statute “relates to the taxpayer’s rights to property

 and not to his creditors’ rights.” United States v. National Bank of Commerce, 472

 U.S. 713, 727 (1985). Some property is exempt from levy under 26 U.S.C. §

 6334(a),1 and Congress’s provision of those specific exemptions “is evidence that

 Congress did not intend to recognize further exemptions which would prevent

 attachment of [federal tax] liens.” United States v. Bess, 357 U.S. 51, 57 (1958).

 To conclude that a spouse’s right in entireties property doesn’t constitute property

 or rights to property “would allow spouses to shield their property from federal

 taxation by classifying it as entireties property, facilitating abuse of the federal tax


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          Those exemptions include wearing apparel and school books [§ (a)(1)], fuel, provisions,
 furniture, and personal effects [§ (a)(2)], books and tools of a trade, business, or profession [§ (a)(3)],
 unemployment benefits [§ (a)(4)], certain annuity and pension payments [§ (a)(6)], workmen’s
 compensation payments [§ (a)(7)], judgments for support of minor children [§ (a)(8)], and minimum
 exemption for wages, salary, and other income [§ (a)(9)].

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 system.” United States v. Craft, 535 U.S. 274, 285 (2002). Exclusion of property

 from a federal tax lien simply because the taxpayer can’t unilaterally alienate the

 property would “exempt a rather large amount of what is commonly thought of as

 property. . . . [T]he fact that [Mrs. Kollintzas’s] husband could not unilaterally

 alienate the property does not preclude him from possessing ‘property and rights

 to property’ for the purposes of [26 U.S.C.] § 6321.” United States v. Craft, 535

 U.S. 274, 284-285 (2002).

       A lien may be enforced via a writ of garnishment “against property . . . in

 which the debtor has a substantial nonexempt interest and which is in the

 possession, custody, or control of a person other than the debtor,” 28 U.S.C. §

 3205(a), subject to the garnishment restrictions found in 15 U.S.C. § 1673. The

 government claims entitlement to the following properties:

             1. Northwestern Mutual Life Insurance Company Tax Deferred
       Annuity Account No. 10048209. The government seeks the cash
       surrender value of the annuity, less any income tax due and owing
       on that amount.

             2. School City of East Chicago Administrative Retirement
       Package. The government seeks, pursuant to 15 U.S.C. § 1673, 25%
       of each monthly installment of the combined benefits of Mr.
       Kollintzas’s administrative pension and severance pay to be paid
       beginning in July 2005.

              3. Public Employees Retirement Fund Account. The
       government notes that while PERF benefits generally are exempt from
       legal process, IND. CODE § 5-10.3-8-9(a) provides that a member’s
       benefits “may be transferred to reimburse his employer for loss
       resulting from the member’s criminal taking of his employer’s
       property . . . proven by a felony or misdemeanor conviction.” The
       government seeks a turnover of the entirety of Mr. Kollintzas’s PERF
       account because the City of East Chicago “is both the victim named

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       in the restitution order and the employer who funded the PERF
       account.”

             4. Wachovia Securities. The government seeks payout of an
       Individual Retirement Account and a brokerage account, less a 20%
       penalty for early withdrawal.

             5. Peoples Bank. The government seeks all funds from checking
       account # 1000045335, checking account # 1000088574, and
       savings account # 5000013468.

             6. Northwestern Mutual Life Insurance Company. The
       government seeks the net cash surrender value of Life Insurance
       Policy No. 10711213, Life Insurance Policy No. 7045813, Life
       Insurance Policy No. 8319967, Life Insurance Policy No. 8319930,
       and Life Insurance Policy No. 8516586.

              7. Nationwide Retirement Solutions. The government maintains
       its lien is proper because the retirement funds don’t qualify as
       exempt payments and, therefore, seeks the total amount of Mr.
       Kollintzas’s account.

             8. Tech Credit Union. The government seeks all moneys from
       savings account # 2234170 and checking account # 2234170.

              9. Indiana Teachers Retirement Fund. The government claims
       entitlement to these funds as non-exempt property of Frank
       Kollintzas.

             10. Funds Held by the City of East Chicago. The government
       seeks recovery of 25% of the wages due to Frank Kollintzas based on
       his employment with the City.

             11. Sand Ridge Bank. The government seeks all funds from a
       savings account and a checking account at the bank in the sole name
       of Frank Kollintzas.

 The government has disclaimed its interest in Northwestern Life Insurance Policy

 No. 16733068 and Mercantile Bank Checking Account No. 4348959 due to the de




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 minimus amount of the funds contained in those accounts. See Gov’t Memo., at

 5 n.3.

          Joanna Kollintzas claims that because she has filed for dissolution of

 marriage from Frank Kollintzas, “any determination of interest related to any of

 these accounts, joint or not, is the sole and exclusive province of the trial court

 having jurisdiction over the divorce proceedings and evidence of contribution

 should be submitted to same.” Resp., at 10. This court cannot agree. Mrs.

 Kollintzas initiated her dissolution proceeding after perfection of the government’s

 lien relating to the property at issue: the order of restitution as to Frank Kollintzas

 was entered on February 24, 2005, the government filed its Notice of Lien relating

 to that judgment on March 1, 2005, and Mrs. Kollintzas filed her complaint for

 dissolution on March 31, 2005. Thus, the government’s federal tax lien relating

 to “all property and rights to property” of Frank Kollintzas is superior to Joanna

 Kollintzas’s claim to entireties property.

          Mrs. Kollintzas hasn’t challenged as incorrect, or provided evidence to rebut,

 the accuracy of the properties included in the government’s accounting; she hasn’t

 argued that she qualifies for protection under any provision of 26 U.S.C. § 6323;

 she hasn’t argued that the properties sought by the government fall under any of

 the statutory exemptions in 26 U.S.C. § 6334; nor has she provided any

 information relating to contributions she made that might establish her right to

 ownership in the properties at issue. Mrs. Kollintzas’s conclusory statement that

 she “contributed income toward the marriage” is insufficient to establish a claim

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 superior to that of the government. See United States v. National Bank of

 Commerce, 472 U.S. 713, 728-729 (1985) (“Congress . . . balanced the interest of

 the Government in the speedy collection of taxes against the interests of any

 claimants to the property, and reconciled those interests by permitting the IRS to

 levy on the assets at once, leaving ownership disputes to be resolved in a post

 seizure administrative or judicial proceeding.”).

       Based on the foregoing, the government’s motion to release funds [docket

 # 292] is GRANTED, and the government is directed to submit forms of orders

 relating to the property sought.

       SO ORDERED.




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       ENTERED:     March 28, 2006



                               /s/ Robert L. Miller, Jr.
                              Chief Judge
                              United States District Court




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